                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE



UNITED STATES OF AMERICA,                           )
                                                    )
                      Plaintiff,                    )
                                                    )          No. 3:14-CR-85
v.                                                  )
                                                    )
ROBERT N. HICKS,                                    )          (PHILLIPS / SHIRLEY)
                                                    )
                      Defendant.                    )
                                                    )



                                   MEMORANDUM AND ORDER

               All pretrial motions in this case have been referred to the undersigned pursuant to

28 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the

District Court as may be appropriate. This matter is before the Court on the Government’s

Petition to the Court for the Authorization of Involuntary Medication [Doc. 492], filed on April

23, 2015.1 The parties came before the Court on May 11, 2015, for a hearing on the Petition.

Assistant United States Attorney Caryn L. Hebets appeared on behalf of the Government.

Attorney James W. Clements, III, represented the Defendant Robert Hicks. Although the Court

had arranged for the Defendant to participate in the hearing by video teleconference from the

Federal Medical Center in Butner, North Carolina (FMC Butner), the Defendant declined to

participate.




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 The Government initially asked [Doc. 487] to file the Petition under seal. The Court denied the
request to seal the Petition but permitted the Government to file a redacted version [Doc. 492],
which was filed on May 19, 2015.

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                I.       BACKGROUND AND POSITIONS OF THE PARTIES

               The Defendant is charged with conspiracy to manufacture methamphetamine and

possession of equipment, chemicals, products, and materials used to manufacture

methamphetamine. On August 26, 2014, the Court committed [Doc. 149] Defendant Hicks for a

mental evaluation of his competency to stand trial. On November 24, 2014, the Court found

[Doc. 231] the Defendant to be incompetent and committed him for four months of evaluation

and treatment to restore his competency. FMC Butner received the Defendant on December 23,

2014, and began his evaluation [see Doc. 448]. On March 30, 2015, the Warden at FMC Butner

faxed a report entitled Forensic Evaluation2 by Dr. Robert Cochrane, forensic psychologist, and

Dr. Byron Herbel, psychiatrist, to the undersigned. The report states that the Defendant has

schizophrenia and recommends that he be involuntarily medicated and treated for an additional

four months in order to restore his competency.

               On April 23, the Government petitioned the Court to authorize involuntary

medication of the Defendant. It argues that involuntary medication is appropriate in this case

because (1) the Defendant is charged with a serious crime and no special circumstances diminish

the need for prosecution, (2) the administration of psychotropic drugs is substantially likely to

render the Defendant competent and substantially unlikely to have side effects that will interfere

with his ability to assist with his defense at trial, (3) involuntary medication is necessary to

further the Government’s interests, and (4) administration of the psychotropic medication is in

the Defendant’s best medical interest. On May 8, the Defendant, through counsel, filed a

response [Doc. 489] opposing involuntary medication. Specifically, he argues that the proposed

medication has substantial side effects causing him to be unable to feel emotion or to connect to


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 This report [Doc. 479] is filed in the record under seal and was made a sealed exhibit to the
May 11 hearing.

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life or the outcome of his case. Also, he contends that measures short of involuntary medication,

such as a court order, should be attempted before forcing him to take medicine against his will.



                          II.    TESTIMONY AT MAY 11 HEARING

               At the May 11 hearing, Dr. Robert Cochrane testified by video teleconference.

His twenty-five (25)-page Forensic Evaluation was made an exhibit to the hearing. Dr. Cochrane

testified that the medications listed in his Forensic Evaluation were all well established and FDA

approved. He said that the overwhelming majority of individuals suffering from schizophrenia

were restored to competency after taking psychotropic medication. He stated that an individual’s

treatment history shows how that individual will respond to psychotropic medications. He said

that the Defendant had previously responded well to psychotropic medications and had been

rendered competent while taking these medications pursuant to a state court order. He said that

side effects, such as sedation, usually go away in a couple of weeks and, if not, can be managed

by providing a lower dose of the medicine or switching medications. He stated that an eight-

week course of treatment was common and that usually medical staff can tell if the individual is

responding to the medication within a couple of weeks. Dr. Cochrane testified that, in his

opinion, the Defendant’s competency would not be restored if he were not treated with

psychotropic medication. He stated that treatment of schizophrenia with these medications is the

standard of care both in the community and in forensic situations.

               On cross-examination, Dr. Cochrane testified that the proposed psychotropic

medications help some patients express emotion, rather than stifling emotion. He agreed that

these medications can sedate some patients and affect their neuromuscular ability, but he stated

that these effects can be managed. He agreed that the medications could affect an individual’s



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demeanor, if not managed. He said that individuals with schizophrenia often do not recognize

that they have mental health issues and do not want to take psychotropic medication. He said

that although Defendant Hicks had experienced positive results with previous treatment, Hicks

had repeatedly told Dr. Cochrane that he does not want to be medicated.

               Dr. Cochrane stated that during his employment at FMC Butner, court orders

directing an inmate to take medication had been issued in three prior cases, with three different

outcomes: one individual continued to refuse to take the medication, one person appeared to

agree to take the medication but later refused, and one patient agreed to take the mediation

voluntarily in light of the court order. He agreed that Hicks had not yet been ordered by the

Court to take the medication. Dr. Cochrane stated that the Defendant was presently refusing to

sign the paperwork necessary to be released into the general prison population. He said that

while it might benefit Defendant Hicks to be around other people, it would not be a significant

step toward treating his schizophrenia. He said that Mr. Hicks has a biological problem that

needs a biological treatment in the form of medication. He agreed that other therapies, such as

group therapy, might be effective after the Defendant received medication. He reiterated that

group therapy without medication would not be an effective treatment for the Defendant.

               Upon questioning by the Court, Dr. Cochrane testified that he proposed starting

the Defendant’s treatment with alonzapine, also known as Zyprexa. He said, if the Defendant is

able to take the medication orally, he will start with 20 milligrams and adjust the dosage as

needed. He stated that if the Defendant refused oral medication, he would move to injectable

medication such as Respiradol. If the Respiradol was not effective, there were other medications

he could try. Dr. Cochrane stated that if the Defendant experienced a feeling of being unable to

connect or to feel emotion, this side effect would not affect his cognitive ability to deal with legal



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issues. He said that in some cases, the medication improved the patient’s attention and other

intellectual abilities.



                                         III.   ANALYSIS

        “An individual has a constitutionally protected liberty interest in avoiding the unwanted

administration of medication, and the Government may not deprive him of this liberty without an

essential or overriding interest in doing so.” United States v. Mikulich, 732 F.3d 692, 696 (6th

Cir. 2013). The Supreme Court has held that the Constitution permits the Government to

medicate a nonviolent, mentally ill defendant in a criminal case involuntarily in certain limited

circumstances, in order to render the defendant competent to stand trial. Sell v. United States,

539 U.S. 166, 179 (2003). This is because the Government has a recognized countervailing

interest in safeguarding the security of its citizens by the prompt administration of justice in

criminal cases. Sell, 539 U.S. at 180; Mikulich, 732 F.3d at 696.

        “Pursuant to Sell, the Government must present clear and convincing evidence of four

factors in order to secure an order of involuntary medication: (1) the existence of an ‘important’

governmental interest; (2) that involuntary medication will ‘significantly further’ the government

interest; (3) that involuntary medication is ‘necessary’ to further those interests; and (4) that

administration of the drugs must be ‘medically appropriate’ for the individual defendant.”

United States v. Green, 532 F.3d 538, 545 (6th Cir. 2008) (quoting Sell, 539 U.S. at 180–81);

Mikulich, 732 F.3d at 696.       In Sell, the Supreme Court recognized that the involuntary

administration of medication should be rare.        539 U.S. at 179.     The Fourth Circuit has

characterized forcibly medicating a nonviolent defendant as a “‘drastic resort’ that, if allowed to

become ‘routine,’ could threaten an elementary ‘imperative of individual liberty.’” United States



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v. Chatmon, 718 F.3d 369, 373 (4th Cir. 2013) (quoting United States v. White, 620 F.3d 401,

422 (4th Cir. 2010)). “While involuntary medication orders may sometimes be necessary, they

carry an unsavory pedigree.” Id. at 374. To insure that forcible medication does not become the

rule, rather than the exception, the Court must carefully consider the facts of each individual

case. See Sell, 539 U.S. at 180. In the instant case, the Defendant challenges the Government’s

proof of the second and third factors.3

                             A. Side Effects of Involuntary Medication

       The Defendant opposes involuntary medication primarily because he states that the

medication causes substantial side effects that will interfere with his ability to participate in his

defense. He contends that the psychotropic medication causes him to feel emotionally detached

from his life and the outcome of his case.           He asserts that he has discontinued using

psychotropic medication in the past because it prevents him from feeling any emotion or having

“any true connection to his life[.]”



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  Although not challenged by the Defendant, the Court also finds that the Government has shown
clear and convincing evidence of the first and fourth factors. As to factor one, the Defendant
faces a mandatory minimum sentence of ten years imprisonment, which sentence was found to
reveal an important Government interest in United States v. Green, 532 F.3d at 549, a case in
which an incompetent defendant was charged with drug trafficking. Moreover, no factors, such
as the potential for the defendant to serve a lengthy commitment to a mental hospital or the fact
that the defendant has already been confined for a long time, mitigate the Government’s interest
in prosecuting Defendant Hicks. See id. The Court finds that the Government has shown by
clear and convincing evidence an important governmental interest in prosecuting Defendant
Hicks.
        With regard to factor four, Dr. Cochrane testified that treatment with psychotropic
medication was the standard of care for treating schizophrenia in both forensic and non-forensic
cases. He said that the overwhelming majority of schizophrenic defendants who were treated
with psychotropic medications were restored to competency and that the Defendant had
previously been restored to competency with this medication. Finally, he testified that the
proposed psychotropic medication has few side effects and that these side effects could be
addressed by changing dosage or medication, if they emerged in Defendant Hicks. The Court
finds that the Government has shown by clear and convincing evidence that administering the
psychotropic medication is medically appropriate for Defendant Hicks.

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       Once the Court finds that an important Government interest exists, it must find that

involuntary medicating the Defendant will significantly further that interest. Sell, 539 U.S. at

180. Specifically, the Court “must find that administration of the drugs is substantially likely to

render the defendant competent to stand trial. At the same time, it must find that administration

of the drugs is substantially unlikely to have side effects that will interfere significantly with the

defendant’s ability to assist counsel in conducting a trial defense, thereby rendering the trial

unfair.” Id. at 181. The Court finds that administration of psychotropic medication to treat his

schizophrenia is substantially likely to render Defendant Hicks competent to stand trial. Dr.

Cochrane testified that the administration of the specific psychotropic medications he intends to

use rendered the overwhelming number of defendants suffering from schizophrenia competent in

other cases in which he has been involved.            Moreover, and more importantly, the use of

psychotropic medication (Zyprexa and Haldol) has rendered this Defendant competent in 2012.

Dr. Cochrane testified that the best indicator of the effects of psychotropic medication in an

individual is prior use of that medication by the individual. Accordingly, the Government has

provided clear and convincing evidence that the administration of psychotropic medication is

substantially likely to render Defendant Hicks competent to stand trial.

       The Defendant contends that the Government has failed to meet the second half of this

test, because the psychotropic drugs cause him side effects that prevent him from caring

emotionally about the outcome of his case.            The Court finds that the evidence before it

contradicts this argument. First, the Forensic Evaluation states that, a review of the Defendant’s

mental health records since 2012, reveals that the Defendant “responded rather favorably to

treatment with antipsychotic medication, with no evidence of significant side effects.” [Exh. at

p.5] Second, although Dr. Cochrane testified that psychotropic medications can have side effects



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and that some people experience “sedation” as a side effect of psychotropic medication, if the

Defendant experienced sedation with the psychotropic medication, Dr. Cochrane and his staff

could adjust the dosage or type of medication until they arrived at dose or medication that did not

cause side effects in the Defendant. Third, Dr. Cochrane testified that even if the Defendant

experienced a feeling of being unable to connect or to feel emotion, this side effect would not

affect his cognitive ability to deal with legal issues.

        The Court heard no evidence to contradict the Forensic Evaluation or Dr. Cochrane’s

testimony. Thus, the Court finds that the Defendant is unlikely to experience any lasting side

effects and that, in any event, the side effect about which the Defendant is concerned, namely a

numbed emotional response, would not substantially interfere with his ability to participate in his

defense. Accordingly, the Court finds that the Government has shown by clear and convincing

evidence that involuntarily medicating the Defendant will significantly further the important

Government interest.



                               B. Necessity of Involuntary Medication

    The Defendant also argues that the Government has failed to show that other, less intrusive

measures would not be successful in bringing about his competence. Specifically, he argues that

the Government has not shown that a Court Order, directing him to take the psychotropic

medication and enforced by the Court’s contempt power, would not be effective. He contends

that his history demonstrates that he has previously voluntarily agreed to take medication once

facing a court’s order that he be involuntarily medicated. Citing to the Fourth Circuit in United

States v. Chatmon, 718 F.3d 369, 375 (4th Cir. 2013), he argues that without attempting this less

intrusive alternative, the Court cannot find that the Government has satisfied this prong. The



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Government argues that given the Defendant’s refusal to speak to or cooperate with the staff at

FMC Butner or his attorney and also the Defendant’s history of noncompliance with prescribed

medication, methods short of involuntary administration of psychotropic medication (such as

psychotherapy) are not likely to restore the Defendant’s competency. Thus, the Government

maintains that involuntary medication is necessary in this case.

       Elaborating upon the third Sell factor, the Supreme Court stated that in addition to

finding that “any alternative, less intrusive treatments are unlikely to achieve substantially the

same results[,]” . . . “the court must consider less intrusive means for administering the drugs,

e.g., a court order to the defendant backed by the contempt power, before considering more

intrusive methods.” Id. at 181. In Chatmon, the Fourth Circuit remanded the case for the district

court to consider alternative treatments (psychotherapy and living in an open population unit,

rather than solitary confinement) raised by the defendant and an alternative procedure to forced

medication, namely a court order for the defendant to take the medication. 718 F.3d at 376-77.

In the instant case, Defendant Hicks does not propose alternative treatments to antipsychotic

medication. Moreover, Dr. Cochrane testified that psychotherapy might be helpful if used along

with antipsychotic medication but would not restore the Defendant’s competency in the absence

of the medication. Dr. Cochrane also testified that the Defendant refused to sign the necessary

paperwork that would permit him to live in the open population.

       The Defendant proposes that the Court order him to take the antipsychotic medication

recommended by the staff at FMC Butner and give him an opportunity to comply with the

Court’s Order, prior to ordering that he be involuntarily medicated. In support of this procedure,

he contends that he has voluntarily taken antipsychotic medication in the past when presented

with a court order that he be involuntarily medicated. The Court finds that the evidence before it



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does not quite bear this out. The Forensic Evaluation states that the Defendant was involuntarily

medicated in Florida in the spring or early summer of 2012. [Exh. at p.3] After the involuntary

medication commenced, he continued to disagree with taking psychotropic medication “and

often voiced his intention to hurt someone if medications were forced on him.” Id. After being

involuntarily medicated for a few weeks, Defendant Hicks then decided to take the psychotropic

medications voluntarily.    Id.   The Court infers that the Defendant’s decision to take the

medication voluntarily was not due to the court’s order but, instead, was perhaps due to his

becoming less psychotic after taking the medication for a few weeks. The report mentions two

other instances in which the Defendant initially refused antipsychotic medication but then

changed his mind and began taking the medication voluntarily. [Exh. at 4] Neither of these

occasions was in response to a court order.

       The medical staff at FMC Butner believe that a Court Order is unlikely to result in the

Defendant voluntarily taking the antipsychotic medication. The Forensic Evaluation states that

three nonviolent incompetent pretrial detainees have been presented with court orders. [Exh. at

16] In one case, the defendant ignored the order; in the second case, the defendant at first agreed

to take the medication voluntarily but ultimately refused; and in the third case, the defendant

complied with the court order in order to avoid being involuntarily medicated. Id. The report

states that in two of these cases, using a court order only served to extend the time during which

the defendant was incarcerated before trial by delaying the involuntary medication order. Id.

The report states that “there is no compelling evidence that an incompetent defendant should

reasonably be expected to have the mental capacity to understand the implications of a contempt

order as a basis for making a rational decision on whether to comply with it.”            Id.   Dr.

Cochrane’s testimony at the May 11 hearing echoed the opinion expressed in the report. He



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pointed out that in his current mental state, the Defendant refused even to sign the paperwork

that would allow him into the less restrictive living quarters.

          Based on the Forensic Evaluation and Dr. Cochrane’s testimony, the Court finds

compelling evidence that a Court Order backed by the threat of contempt will have little effect in

this case. However, the cost of using a modified order that provides the Defendant a brief

opportunity to take the medication voluntarily before the order to involuntarily medicate him is

enforced seems small. Accordingly, the Court finds that although the Government has provided

clear and convincing evidence of the third Sell factor—that less intrusive methods, short of

involuntary medication, are unlikely to achieve substantially the same result—the Defendant

should be afforded one more opportunity to take the antipsychotic medication voluntarily,

knowing that the Court has ordered that it will be administered involuntarily, if he continues to

refuse.

          In summary, the Court finds that the Government has shown clear and convincing

evidence of all four Sell factors. The instant case is one of those rare cases in which involuntary

medication of the Defendant is necessary.             The Defendant is ORDERED to take the

antipsychotic medication proposed by Dr. Cochrane and the staff at FMC Butner.                The

Defendant shall have ONE WEEK from his receipt of and being advised of this Order to take

the medication voluntarily. The Government’s Petition to the Court for the Authorization of

Involuntary Medication [Doc. 492] is GRANTED in part, in that if Defendant Hicks refuses to

voluntarily begin his course of antipsychotic medication within one week of his receiving a copy

of this Memorandum and Order, then the staff at FMC Butner is DIRECTED to administer the

antipsychotic medication involuntarily, according to the treatment regimen testified to and




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described by Dr. Cochrane at the May 11 hearing and set out in detail in the Proposed Treatment

Plan in the Forensic Evaluation.



                                       IV. CONCLUSION

              The Court finds by clear and convincing evidence that Defendant Robert Hicks

should be involuntarily medicated in order to restore his competency.         Therefore, it is

ORDERED as follows:

               (1) The Government’s Petition to the Court for the Authorization
                   of Involuntary Medication [Doc. 492] is GRANTED in part,
                   in that antipsychotic medication will be administered to the
                   Defendant involuntarily if he does not begin taking the
                   medication voluntarily within one week of his receipt of this
                   Memorandum and Order;

               (2) The Clerk of Court is DIRECTED to serve copies of this
                   order on counsel of record, on Warden Kenny Atkinson at
                   FMC Butner, on Drs. Robert Cochrane and Byron Herber at
                   FMC Butner, and to serve three certified copies on the United
                   States Marshal;

               (3) Dr. Cochrane is ORDERED to provide Defendant Hicks with
                   a copy of this Memorandum and Order, upon his receipt of
                   same;

               (4) Defendant Robert Hicks is ORDERED to take the
                   antipsychotic medication prescribed by Drs. Cochrane and
                   Herbel and the staff at FMC Butner. If Defendant Hicks does
                   not take this medication voluntarily within one week of
                   receiving a copy of this Memorandum and Order, then the
                   medication will be involuntarily administered;

               (5) Following the one-week period in which the Defendant may
                   elect to take the medication voluntarily, Drs. Cochrane and
                   Herbel and the staff at FMC Butner are authorized to
                   administer antipsychotic medication to Defendant Hicks
                   involuntarily in accord with the treatment described by Dr.
                   Cochrane at the May 11 hearing and set out in detail in the
                   Proposed Treatment Plan in the Forensic Evaluation;



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               (6) All other provisions of the Court’s prior Order of Continued
                   Commitment [Doc. 466] of April 3, 2015, remain in effect;4
                   and

               (7) The United States Marshal is DIRECTED to notify the Clerk
                   of the Court and the undersigned’s office promptly when
                   Defendant returns to this jurisdiction from the mental
                   evaluation and treatment


               IT IS SO ORDERED.

                                              ENTER:


                                                  s/ C. Clifford Shirley, Jr.
                                             United States Magistrate Judge




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  In the Forensic Evaluation, Drs. Cochrane and Herbel appear to ask the Court to order that the
Defendant receive four months of treatment pursuant to 18 U.S.C. §4241(d) from the beginning
of involuntary medication. [Exh. at 23] At the time the Court received the Forensic Evaluation,
less than one month remained of the four months of treatment previously ordered. Accordingly,
in its April 3 Order of Continued Commitment [Doc. 466], the Court ordered that the Defendant
remain in custody and hospitalized at FMC Butner for an additional four-month period for
treatment, evaluation, and testing. The Order of Continued Commitment further provides that if
at the end of this four-month treatment period, the evaluating staff at FMC Butner determine that
an additional reasonable period of treatment is needed, the facility shall send the Court a written
request for an additional four-month period.

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